                IN THE UNITED STATES DISTRICT COURT
               FOR THE EASTERN DISTRICT OF WISCONSIN
________________________________________________________________________

THOMAS J. KANIOS
LORA KANIOS,

                     Plaintiffs,
                                                         Case No. 2009CV01034
       v.

COLUMBIA ST. MARY’S INC. and
UMR, INC.,

                 Defendants.
________________________________________________________________________

                  NOTICE OF VOLUNTARY DISMISSAL
________________________________________________________________________

       Pursuant to Fed. R. Civ. P. 41, the plaintiffs hereby voluntarily dismiss all claims in

the above-captioned lawsuit.

       Dated this 7th day of December, 2009

                                           CANNON & DUNPHY, S.C.
                                           Attorneys for Plaintiffs



                                           By: s/ Kevin R. Martin
                                                  Kevin R. Martin
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